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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 CHECKSUM VENTURES, LLC,

          Plaintiff,                              Case No. 1:18-cv-6321
          v.                                      Hon. Robert Michael Dow Jr.
 DELL INC.,                                       Jury Trial Demanded
          Defendant.


                       JOINT MOTION TO CONTINUE STATUS HEARING

       Plaintiff CheckSum Ventures, LLC and Defendant Dell Inc. respectfully request that the

Court continue until 9:00 a.m. on January 17, 2019 the initial status conference currently set for

December 18, 2018. The parties have not yet submitted a joint status report, nor met and conferred

regarding the same. Further, Defendant has not yet retained local counsel who could appear on its

behalf. The reason the parties ask to continue the status hearing is to allow them time to perform

such tasks before the hearing. Thus, the parties respectfully request that the Court grant this

motion.

Dated: December 17, 2018

/s/ Isaac Rabicoff                                  /s/ Neil J. McNabnay
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Counsel for Plaintiff                               Counsel for Defendant Dell Inc.
CheckSum Ventures, LLC
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served on December 17, 2018, to all counsel of record who are deemed to have
consented to electronic service via the Court’s CM/ECF system.

                                                   /s/ Kenneth Matuszewski
                                                   Counsel for Plaintiff
